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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 PULSE ENGINEERING, INC.,                    )
           Plaintiff,                        )
                                             )
       vs.                                   )        1:06-cv-1237-LJM-JMS
                                             )
 THE TRAVELERS INDEMNITY                     )
 COMPANY, INSURANCE COMPANY OF               )
 NORTH AMERICA, THE NORTH RIVER              )
 INSURANCE COMPANY, INDUSTRIAL               )
 INDEMNITY COMPANY, and THE                  )
 CENTRAL NATIONAL INSURANCE                  )
 COMPANY OF OMAHA.                           )
           Defendants.                       )


                              ORDER ON CHOICE OF LAW

       Pending before the Court are several Motions for Summary Judgment on the issue

 of choice of law. Dkt. Nos. 86, 87, 201, 204, 207. For the following reasons, the Court

 determines that Indiana law applies to this case.



                                    I. BACKGROUND

                              A. PROCEDURAL HISTORY

       In this action, Pulse Engineering, Inc. (“Pulse”) seeks a declaration of the scope of

 its rights under several insurance contracts with respect to certain defense and

 environmental response costs. Dkt. No. 278 at ¶1. This lawsuit began in 2004, when

 Pulse sued Federal Insurance Company (“Federal”), Pacific Indemnity Company (“Pacific”),

 and Hartford Accident and Indemnity Company (“Hartford”) in Marion Superior Court. Dkt.

 No. 1-4. On November 8, 2005, the Marion Superior Court granted in part and denied in
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 part Pulse’s motion for summary judgment on the issue of coverage. Dkt. No. 17, Ex. B.

 In early 2006, Pulse discovered that Travelers Indemnity Company (“Travelers”) provided

 coverage during the relevant time period, and on July 31, 2006, the Marion Superior Court

 granted leave to Pulse to file an Amended Complaint that named Travelers as a Defendant.

 Dkt. No. 92 at 9. Around this time, Pulse settled with Federal, Pacific, and Hartford, which

 were each dismissed from the case by the time it was removed to this Court on August 16,

 2006. Id.; Dkt. Nos. 1; 17, Ex. C. On July 31, 2008, Pulse filed a Third Amended

 Complaint, naming three more Defendants: Insurance Company of North America (“INA”)

 (whose successor company is Century Indemnity Company (“Century”)), North River

 Insurance Company (“North River”), and Industrial Indemnity Company (“Industrial”) (which

 has so far been represented by Westchester Fire and Insurance Company

 (“Westchester”)). Dkt. Nos. 101 at 1; 278 at ¶ 7.

        On May 4, 2009, Pulse unearthed evidence of insurance policies issued by Central

 National Insurance Company of Omaha (“Central National”) to GTI through a subpoena to

 nonparty Swett & Crawford. Dkt. No. 264-1 at ¶ 6. On August 31, 2009, Ace Limited—the

 parent company of Century, Westchester, and Central National—produced to Pulse three

 primary-level Central National policies, despite the fact that Pulse requested this

 information from Westchester in December 2007. Id. at ¶¶ 3, 10. Pulse filed a Fourth

 Amended Complaint adding as a Defendant Central National (which is represented by

 Century). Dkt. No. 278.




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                                       B. PULSE/GTI

        Pulse is a Delaware corporation with its principal place of business in California.

 Dkt. No. 278 at ¶ 2. Pulse is the successor company to GTI Corporation (“GTI”), which was

 a Rhode Island company headquartered in Pennsylvania from the late 1960s until it moved

 to California between the third quarter of 1977 and the end of the first quarter of 1978. Dkt.

 Nos. 114 at 2; 208-9 at 4. GTI had manufacturing facilities and employees located in

 California, Indiana, Pennsylvania, New York and, for part of the relevant time period, West

 Germany. Dkt. No. 113 at 2.

        Between 1967 and 1971, the Pennsylvania division of GTI generated more sales

 than any other division—more than double the sales of the Leesburg, Indiana, site (the

 “Indiana site”) most years. Dkt. No. 113-2 at 1. The relevant evidence suggests that the

 Pennsylvania division continued to lead in sales from 1972 to 1979. See Dkt. Nos. 116-1

 at 19; 113 at 4-5; 90-2 at 50, 85. During the years 1973 through 1975, the square footage

 of the facilities were larger in Pennsylvania than any other state by nearly double. Dkt. No.

 113 at 5. In 1976, the GTI facilities in Pennsylvania were marginally larger than in any

 other state. Id. In 1977-79, the Indiana site facilities were marginally larger than the

 facilities in Pennsylvania. Id.



                                   C. THE INDIANA SITE

        GTI owned and operated the Indiana site from 1965–1992. Dkt. Nos. 92 at 2; 90 at

 5. During this time, GTI produced circuit boards. Dkt. Nos. 90 at 5; 113 at 3-4. Prior to

 GTI’s ownership of the Indiana site, Milford Machine owned it from 1952 to 1963 and



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 produced on it crank shafts for lawn mowers and motor boats. Dkt. No. 90 at 5. The

 Dytronics Division of Synthane owned it from 1963 to 1965 and produced on it circuit

 boards. Id.

       Since 1987, the Environmental Protection Agency (“EPA”) and the Indiana

 Department of Environmental Management (“IDEM”) have on several occasions inspected

 and identified environmental problems on the Indiana site that required action by GTI. Dkt.

 No. 90 at 6-9. On November 30, 1994, IDEM sent GTI an Agreed Order and a Notice of

 Violation. GTI and IDEM began negotiations regarding the cleanup, and ultimately GTI

 entered into a “Corrective Action Agreed Order” with IDEM on June 2, 1998. Dkt. No. 278

 at ¶ 1, 10. In January 2003, GTI entered into an “Amendment to Corrective Action Agreed

 Order” with IDEM Id. at ¶ 10. The soil removal required by the Amended IDEM Order is

 complete. Dkt. No. 92 at 3. On May 2, 2007, IDEM approved Pulse’s groundwater cleanup

 plan, which will cost $840,112.00 to implement. Id.



                  D. THE ISSUANCE OF THE INSURANCE POLICIES

       The different insurers in this case issued primary and umbrella layer comprehensive

 general liability (“CGL”) policies to GTI between 1966 and 1981. INA issued primary and

 umbrella policies for coverage from January 1966 to March 1971. Dkt. No. 208 at 3; Ex.

 B, Attach 1. The insurance brokers for these policies were from Pennsylvania: Tanner,

 James & Cowell of Erie Pennsylvania, and Johnson & Higgins of Pennsylvania,

 Incorporated. Dkt. No. 206, Ex. B at ¶¶ 5, 16. INA was incorporated in Pennsylvania,

 which was its principal place of business. Dkt. No. 208 at 4.

       Travelers issued primary and umbrella layer CGL coverage to GTI from March 3,

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 1971, through June 30, 1978. Dkt. No. 92, Ex. E at ¶ 3. Travelers was incorporated in

 Connecticut, which was also the location of its principal place of business. Dkt. No. 208

 at 4.   While GTI’s headquarters were located in Pennsylvania, the insurance was

 coordinated through the Pittsburgh, Pennsylvania, office of insurance broker Johnson &

 Higgins (“J&H”). Dkt. No. 90, Ex. B at 70. The 1971-78 policies were underwritten by

 Travelers’ Pittsburgh office, and the 1978-79 policies were underwritten by the Travelers’

 Hartford, Connecticut, office. Dkt. No. 113 at 18. Travelers’ president and secretary signed

 the policies at the Hartford, Connecticut, office. Dkt. No. 90-7 at 9, 23, 42, 89.   North

 River issued an umbrella policy to GTI providing coverage from April 3, 1977, to March 1,

 1980. At least some of the negotiations relating to the policy issued by North River to GTI

 were tied to Pennsylvania. Dkt. No. 202, Ex. C at ¶ 6. North River was incorporated in

 New Jersey, which was also its principal place of business. Dkt. No. 208 at 4.

         Pulse has produced documents referring to a policy that may have been issued by

 Industrial Indemnity in 1978 or 1979. Dkt. No. 101-4. These documents indicate that all

 communications regarding this policy were from California. Industrial Indemnity was

 incorporated in California, which was also its principal place of business. Dkt. No. 208 at

 4.

         The most recent Defendant, Central National, issued primary liability policies to GTI

 from July 1, 1979, to July 1, 1981. Central National is based in Nebraska, and the policies

 were issued to GTI by Cravens, Dargan and Company out of Los Angeles, California. See

 Dkt. No. 278 at 3, Exs. A–C.




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                                         II. STANDARD

        Motions for summary judgment are governed by Federal Rule of Civil Procedure 56

 (c), which provides in relevant part:

        The judgment sought should be rendered if the pleadings, the discovery and
        disclosure materials on file, and any affidavits show that there is no genuine
        issue as to any material fact and that the movant is entitled to judgment as
        a matter of law.

 A genuine issue of material fact exists whenever “there is sufficient evidence favoring the

 nonmoving party for a jury to return a verdict for that party.” Anderson v. Liberty Lobby,

 Inc., 477 U.S. 242, 249 (1986). Only factual disputes that might affect the outcome of the

 suit in light of the substantive law will preclude summary judgment. Id. at 248; Hampton

 v. Ford Motor Co., 561 F.3d 709, 713 (7th Cir. 2009).

        Where the court is faced with cross-motions for summary judgment, “the court must

 construe all inferences in favor of the party against whom the particular motion is made.”

 Maclin v. SBC Ameritech, 520 F.3d 781, 786 (7th Cir. 2008). Once a party has made a

 properly-supported motion for summary judgment, the opposing party may not simply rest

 upon the pleadings but must instead submit evidentiary materials which “set forth specific

 facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e); Maclin, 520 at

 786.



                                         III. DISCUSSION

        Because this case was filed in Indiana, the determination as to which state’s

 substantive law applies is governed by Indiana law. Allen v. Great Am. Reserve Ins. Co.,

 766 N.E.2d 1157, 1162 (Ind. 2002). Pulse argues that Indiana law should apply, and the


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 insurance companies argue that Pennsylvania law should apply.

        “Ordinarily a choice of law issue will be resolved only if it appears there is a

 difference in the laws of the potentially applicable jurisdictions.” Allen, 766 N.E.2d at 1162.

 Defendants argue that Pennsylvania law differs from Indiana law in several ways, whereas

 Plaintiff argues that “[t]here is no dispositive difference between Indiana and Pennsylvania

 decisions on the central insurance issues here” and therefore “[n]o choice of law

 determination is necessary . . . .” Dkt. No. 92 at 12. The Court determines that differences

 in Indiana and Pennsylvania environmental law that may potentially apply in the case at bar

 warrant a choice of law analysis. Compare Am. States Ins. Co. v. Kiger, 662 N.E.2d 945

 (Ind. 1996) (holding that an insurance policy containing a pollution exclusion was

 ambiguous and thus unenforceable where the definition of “pollutant” was arguably broad

 enough to include gasoline, which would have effectively excluded the major source of the

 gas station’s potential liability and negate virtually all coverage) with Wagner v. Erie Ins.

 Co., 801 A.2d 1226, 1232-33 (Pa. Super. Ct. 2002), aff’d, 847 A.2d 1274 (Pa. 2004)

 (holding, in the same situation, that gasoline was unambiguously a pollutant according to

 the terms of the policy), and compare Travelers Indem. Co. v. Summit Corp. of Am., 715

 N.E.2d 926, 936-38 (Ind. Ct. App. 1999) (holding that personal injury provisions are

 ambiguous on whether they apply to environmental damage and therefore should be

 construed in favor of the insured in this regard) with O’Brien Energy Sys. v. Am. Employers’

 Ins. Co., 629 A.2d 957, 963-64 (Pa. 1993) (holding that an absolute pollution exclusion was

 “equally applicable to claims for personal injury” and that the “insurer did not eliminate the

 exclusionary language by providing additional coverage of the type listed in the ‘personal

 injury’ endorsement”) and Hussey Cooper, Ltd. v. Royal Ins. Co. of Am., 567 F. Supp. 2d

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 774, 781 (W.D. Penn. 2008) (“The ‘personal injury’ provisions in Royal’s policies do not

 create an end-run around the absolute pollution exclusion, and there is no coverage.”).

          The Indiana Court of Appeals recently addressed the issue of what law should be

 applied where, as here, one liability insurance contract applies to several locations of risk

 scattered throughout more than one state. See Nat’l Union Fire Ins. Co. v. Std. Fusee

 Corp, 49A04-0811-CV-665, 2009 WL 4403233 (Ind. Ct. App. Dec. 3, 2009). The Indiana

 Court of Appeals followed Restatement (Second) of Conflict of Laws § 193, Comment f,

 which suggests treating a multiple risk policy “as if it involved [multiple] policies, each

 insuring an individual risk.” The Indiana Court of Appeals concludes that “Section 193

 creates a rebuttable presumption in favor of the state where the insured risk is located” that

 “may be overcome if another state’s interest is sufficiently compelling as to outweigh those

 interests of the state where the insured risk is located . . . .” Std. Fusee, 2009 WL 4403233

 at *5.

          The Court is convinced by the benefits of this approach, including: certainty and

 predictability of result, ease in determining what law applies, and the protection of justified

 expectations. See id. at *5-6; Restatements (Second) of Conflict of Laws § 6. Accordingly,

 giving great weight to decision of the Court of Appeals, see Pisciotta v. Old Nat’l Bancorp.

 499 F.3d 629, 635 (7th Cir. 2007), the Court accepts the holding in Standard Fusee.

          Thus, the rebuttable presumption is that Indiana law applies to the case at bar,

 where the only insured risk property at issue is the Indiana site of GTI/Pulse. The other

 states having interests in this matter are New Jersey, Connecticut, Pennsylvania, and

 California. New Jersey is connected to this case because it is North River’s state of

 incorporation. This interest is small and may not ultimately be relevant because Pulse and

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 North River recently filed a notice of settlement. See Dkt. No. 304. Connecticut’s interest

 is also remote, consisting of Travelers’ state of incorporation and the location where some

 of Travelers’ policies were signed. Pennsylvania’s interest in the case at bar is also

 minimal. While the policies at issue in this litigation have a great deal of exposure to risk

 in Pennsylvania, the application of the Standard Fusee ruling in this case encourages

 Pennsylvania law to apply to any causes of action that may arise under the policies

 pertaining to property in Pennsylvania. Pennsylvania is otherwise related to the action only

 in that INA was incorporated there and some of the policy negotiations and formations took

 place there. Of the four states, California has the strongest interest in the outcome of this

 case—in addition to the fact that some of policies were negotiated and signed there, Pulse

 is headquartered there.

        The facts in Standard Fusee are nearly identical to those of the case at bar, and the

 Indiana Court of Appeals described Indiana’s interest in that case as follows:

        Indiana has the most significant relationship to this transaction and the
        parties regarding the Indiana site. Those sites have an effect on the health
        and environmental well-being of this State’s inhabitants. The State bears the
        brunt of the cleanup costs if the insured fails to remediate the site. Indiana’s
        public policies in favor of coverage and construing policies of insurance in
        favor of the insured are impacted. Maryland and California have no interest
        in the remediation of Indiana’s site.

 Std. Fusee, 2009 WL 4403233 at *8 (citations omitted).             This reasoning is equally

 applicable to the case at bar—Indiana’s interest in resolving who will be funding the

 cleanup of the Indiana site is greater than the interest that California has regarding the

 potential liability of one of its corporations. As noted above, the interests of the other states

 related to this cause of action are relatively minor. Thus, none of the other four states

 related to this cause of action has an interest in the outcome that overcomes the

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 presumption that Indiana law applies.



                                   IV. CONCLUSION

       Accordingly, Pulse’s Motion for Summary Judgment (Dkt. No. 87) is GRANTED in

 part on the issue of choice of law, and Pulse’s Cross Motion for Summary Judgment (Dkt.

 No. 207) on choice law is GRANTED. Travelers’ Motion for Summary Judgment (Dkt. No.

 86) is DENIED in part on the issue of choice of law, and North River’s and INA’s Partial

 Motions for Summary Judgment on the issue of choice of law (Dkt. Nos. 201 and 204) are

 DENIED.



       Dated: 12/18/2009




                             ________________________________
                             LARRY J. McKINNEY, JUDGE
                             United States District Court
                             Southern District of Indiana




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